Case 2:04-cv-02346-.]DB-dkv Document 10 Filed 08/29/05 Page 1 of 2 Page|D 24

 

UNITED sTA TES DISTRICT coURT F”J=`D air “
WESTERN DISTRICT OF TENNESSEE 05 AUG 29 Qy"` D'"
WES TERN DIVISIoN M '°H 2.- 12
citing v ‘ fr
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PENTECOSTAL TEMPLE INSTITUTIONAL JUDGMENT iN A civIL cAsE * " 511 ”'H/s
CHURCH oF Goi) IN cHRIsT, INC.,
Plaintiff,
V.
GUII)EoNE INSURANCE, INc., cASE No= 2=04-2346-3
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AN]) ADJUDGED that in accordance with the Order entered on .Iuly 21,
2005, this cause is hereby dismissed with prejudice.

OVED:

 

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J. D NIEL BREEN
UN El) sTATES DISTRICT COURT THOMAS M. GOuLD

gil g g 04
ate Clerk of Court

(By) Deputy Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
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Honorable J. Breen
US DISTRICT COURT

